            Case 1:23-cv-01170-LGS Document 15 Filed 03/30/23 Page 1 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                            X
                                                            :
RAYMOND BASRI,                                              :
                                                            :
                                       Plaintiff(s),        :          1:23 Civ. 01170 (LGS)
                        -v-                                 :
                                                            :          CIVIL CASE
RICHARD GORDON and AIR99 LLC,                               :       MANAGEMENT PLAN
                                                            :        AND SCHEDULING
                                       Defendant(s).        :             ORDER
                                                            X

LORNA G. SCHOFIELD, United States District Judge:

        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
Civ. P. 26(f)(3).

1.     All parties do not consent to conducting all further proceedings before a United States
       Magistrate Judge, including motions and trial. See 28 U.S.C. § 636(c). The parties are
       free to withhold consent without adverse substantive consequences. [If all parties
       consent, the remaining paragraphs need not be completed.]

2.     The parties have conferred pursuant to Fed. R. Civ. P. 26(f).

3.     This case is governed by one of the following sets of rules, and the parties’ proposed
       dates in this order have been adjusted accordingly.

       a.       An employment case governed by the Initial Discovery Protocols for Employment
                cases? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                No.

       b.       A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                Against the City of New York? https://nysd.uscourts.gov/rules.
                No.

       c.       A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-g-
                schofield
                No.

       d.       A wage and hour case governed by Initial Discovery Protocols for Fair Labor
                Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                No.



                                                                              Revised January 3, 2023
          Case 1:23-cv-01170-LGS Document 15 Filed 03/30/23 Page 2 of 5




4.   Alternative Dispute Resolution/Settlement

     a.       Settlement discussions have not taken place.

     b.       Counsel for the parties have discussed an informal exchange of information in aid
              of early settlement and have agreed to exchange the following:
              None at this time.




     c.       Counsel for the parties have discussed the use of the following alternate dispute
              resolution mechanisms for use in this case: (i) a settlement conference before a
              Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
              retention of a private mediator. Counsel for the parties propose the following
              alternate dispute resolution mechanism for this case:
              Plaintiff is prepared to engage in ADR once all parties have completed substantive
              discovery. Defendants are open to considering alternative dispute resolution mechanisms
              at that time.


     d.       Counsel for the parties recommend that the alternate dispute resolution
              mechanism designated in paragraph 4(c) be employed at the following point in the
              case (e.g., within the next 60 days; after the deposition of plaintiff is completed
              (specify date); after the close of fact discovery):
              After the close of all fact discovery.




     e.       The use of any alternative dispute resolution mechanism does not stay or
              modify any date in this Order.

5.   No additional parties may be joined after June 30, 2023, without leave of Court.

6.   Amended pleadings may be filed without leave of Court until June 30, 2023.

7.   Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
     April 19, 2023, days from the date of this Order. [Within 14 days of the parties’ Rule
     26(f) conference, absent exceptional circumstances.]

8.   Fact Discovery

     a.       All fact discovery shall be completed no later than August 7, 2023.
              [A period not to exceed 120 days, unless the Court finds that the case presents
              unique complexities or other exceptional circumstances.]

     b.       Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall
              be served by May 1, 2023.
                                                       2
           Case 1:23-cv-01170-LGS Document 15 Filed 03/30/23 Page 3 of 5




      c.       Responsive documents shall be produced by May 31, 2023.
               Do the parties anticipate e-discovery? To be determined.

      d.       Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
               May 1, 2023.

      e.       Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
               August 7, 2023.

      f.       Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
               August 7, 2023.

      g.       Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
               written consent of all parties without application to the Court, provided that
               all fact discovery is completed by the date set forth in paragraph 8(a).

9.    Expert Discovery [if applicable]

      a.       Anticipated types of experts if any:
               None at this time.




      b.       If you have identified types of experts in question 9(a), all expert discovery shall
               be completed no later than                               .
               [Within 45 days from the date in paragraph 8(a), i.e., the completion of all fact
               discovery, absent exceptional circumstances.] Omit if you have not identified
               types of experts.

      c.       If you have identified types of experts in question 9(a), by              [no later
               than one month before the date in paragraph 8(a), i.e., the completion of all fact
               discovery] the parties shall meet and confer on a schedule for expert disclosures,
               including reports, production of underlying documents and depositions, provided
               that (i) expert report(s) of the party with the burden of proof shall be due before
               those of the opposing party’s expert(s); and (ii) all expert discovery shall be
               completed by the date set forth in paragraph 9(b).

10.   This case is to be tried to a jury.

11.   Counsel for the parties have conferred and their present best estimate of the length of trial
      is 4 days.




                                                 3
            Case 1:23-cv-01170-LGS Document 15 Filed 03/30/23 Page 4 of 5




12.    Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
       Fed. R. Civ. P. 26(f)(3), are set forth below:
       Defendants’ anticipated motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(2), for lack of
       personal jurisdiction. In addition, Defendants request a stay of discovery pending the Court’s
       resolution of that anticipated motion, and Plaintiff consents to that request.




13.    Status Letters and Conferences

       a.      By June 2, 2023 ______________________________________________
                                  or 60 days after the commencement of fact discovery,
                _______________
               whichever   is later, the parties shall submit a joint status letter, as outlined in
               Individual Rule IV.A.2.
                    August 16, 2023
       b.          _______________________________________________________________
               By August 21, 2023 or 14 days after the close of fact discovery, whichever is
               _____
               later, the parties shall submit a joint status letter, as outlined in Individual Rule
               IV.A.2 and, in the event that they have not already been referred for settlement
               discussions, shall also advise the Court whether or not they request a referral for
               settlement discussions as provided in Paragraph 4(c) above.
                     September 6, 2023 at 4:00 P.M.
       c.      On                  at      A.M., a pre-motion conference will be held for any
               anticipated dispositive motions, provided:

                   i. A party wishing to file a summary judgment or other dispositive motion
                      shall file a pre-motion letter at least two weeks before the conference and
                      in the form provided in the Court’s Individual Rule III.A.1. Any party
                      wishing to oppose shall file a responsive letter as provided in the same
                      Individual Rule. The motion will be discussed at the conference. To join
                      the conference, the parties shall call (888) 363-4749 and use Access Code
                      558-3333. The time of the conference is approximate, but the parties shall
                      be ready to proceed at that time.

                  ii. If no pre-motion letter is timely filed, this conference will be canceled
                      and the matter placed on the Court’s trial-ready calendar. The parties
                      will be notified of the assigned trial-ready date and the filing deadlines for
                      pretrial submissions. The parties are warned that any settlement
                      discussions will not stay pretrial deadlines or the trial date.

        This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(g) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(g), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
than 2 business days prior to the expiration of the date sought to be extended.

                                                  4
          Case 1:23-cv-01170-LGS Document 15 Filed 03/30/23 Page 5 of 5




       Notwithstanding any other rules governing discovery or other deadlines, the parties shall
follow the deadlines set forth herein unless expressly ordered otherwise by the Court.

        The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
13(a)-(c) into the Court’s calendar, and to schedule the conference under paragraph 13(c) as a
Pre-Motion Conference, even though the conference will be held by telephone.



SO ORDERED.


Dated: March 30, 2023
       New York, New York

                                                               LORNA G. SCHOFIELD
                                                               United States District Judge

Counsel for the Parties:


YANKWITT LLP                                          PETER BROWN & ASSOCIATES PLLC
Attorneys for Defendants Richard Gordon and           Attorneys for Plaintiff Raymond Basri
Air99 LLC

_ ____________________________________
/s/ Ross E. Morrison                                  __
                                                      /s/ ___________________________________
                                                          Peter Brown
Ross E. Morrison                                      Peter Brown
140 Grand Street, Suite 705                           260 Madison Avenue, 16th Floor
White Plains, New York 10601                          New York, New York 10016
ross@yankwitt.com                                     pbrown@browntechlegal.com
T: (914) 686-1500                                     T: (212) 939-6440
                                                      F: (646) 607-2530

                                                      LEE & LUM, LLP
                                                      Attorneys for Plaintiff Raymond Basri


                                                      /s/ Robert Lum
                                                      _____________________________________
                                                      Robert J. Lum
                                                      1185 Avenue of the Americas, 3rd Floor
                                                      New York, New York
                                                      rlum@leelumlaw.com
                                                      T: (212) 634-7248
                                                      F: (212) 634-7246




                                                  5
